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 8                            UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION

11   WAYMO LLC,                                  Case No. 3:17-cv-00939-WHA

12                     Plaintiff,                [PROPOSED] ORDER GRANTING
                                                 DEFENDANTS UBER
13        v.                                     TECHNOLOGIES, INC.’S AND
                                                 OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                    ADMINISTRATIVE MOTION TO FILE
     OTTOMOTTO LLC; OTTO TRUCKING LLC,           DOCUMENTS UNDER SEAL
15
                       Defendants.               Judge: Hon. William H. Alsup
16                                               Trial Date: October 10, 2017

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      [PROPOSED] ORDER GRANTING UBER’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER
                                           SEAL
                               CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 900-2 Filed 07/14/17 Page 2 of 2



 1          Having considered Defendants Uber Technologies, Inc.’s and Ottomotto LLC’s

 2   (collectively, “Uber”) Administrative Motion to File Documents Under Seal, and finding that

 3   good cause exists, this Court hereby GRANTS Uber’s Administrative Motion to File Documents

 4   Under Seal and ORDERS that the following document shall be sealed, as indicated below:

 5             Document              Portions to Be Filed Under Seal    Designating Party
     Uber’s Brief in Response to     Highlighted Portions            Uber (blue)
 6   Waymo’s Memorandum
     Regarding Adverse
 7   Inferences to Be Drawn From
     Anthony Levandowski’s
 8   Assertion of the Fifth
     Amendment
 9   Exhibit A to the Declaration    Highlighted Portions               Waymo (green)
     of Meredith Dearborn
10
            IT IS SO ORDERED.
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12   Dated: _____________, 2017                 _________________________________________
                                                HONORABLE WILLIAM HASKELL ALSUP
13                                              United States District Judge
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      [PROPOSED] ORDER GRANTING UBER’S ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER
                                           SEAL
                               CASE NO. 3:17-CV-00939-WHA
